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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


 In re: PARAQUAT PRODUCTS                         Case No. 3:21-md-3004-NJR
 LIABILITY LITIGATION
                                                  MDL No. 3004
 This Document Relates to All Cases




               CASE MANAGEMENT ORDER NO. 10
 PLAINTIFF ASSESSMENT QUESTIONNAIRE (PAQ) IMPLEMENTATION

       This Case Management Order (“CMO”) governs the implementation of the

Plaintiff Assessment Questionnaire (“PAQ”) in this MDL with respect to: (1) online

platform for data management; (2) service, document production, authorizations, and

verifications; (3) deadlines; (4) guidelines to determine substantial completeness;

(5) reservation of objections; (6) failure to serve and materially deficient submissions;

(7) confidentiality; (8) admissibility; (9) rules applicable to authorizations and document

production; (10) procurement of information; (11) acceptance of authorizations; and

(12) Plaintiff Fact Sheet (PFS) and Defendant Fact Sheet (DFS).

       This Order applies to all parties and their counsel in: (a) all actions transferred to

In re: Paraquat Products Liability Litigation (“MDL 3004”) by the Judicial Panel on

Multidistrict Litigation (“JPML”) pursuant to its Orders dated June 8, 2021, June 17, 2021,

June 21, 2021, June 24, 2021, and July 7, 2021, and (b) to all related actions directly filed in

or removed to this Court.




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I.     Online Platform

       The Court hereby appoints Postlethwaite & Netterville (P&N) to serve as the

administrator of the online platform for the exchange and management of the data

submitted with respect to the PAQ. The parties are directed to utilize P&N’s portal (“the

Portal”), available at https://www.paraquatmdlportal.com/, to fulfill Plaintiffs’

discovery obligations and also to coordinate with P&N, either directly or through Special

Master Ellis. P&N shall work with the parties to compile all necessary data. Submitting

the responsive discovery to the Portal shall constitute effective service.

II.    Plaintiff Assessment Questionnaire

       Pursuant to CMO 7, the Court approved the PAQ that, in addition to seeking

responses to questions, includes document requests and three (3) written authorizations

for the release of records (“Authorizations”). Each Plaintiff shall produce to Defendants,

via the Portal, a completed PAQ in electronic format, executed Authorizations, and

documents responsive to the requests in the PAQ (“Responsive Documents”) pursuant

to the terms of this Order. The PAQ verification shall be signed by the Plaintiff by either

wet ink or electronic signature.

       The effect of a Plaintiff’s response to the questions contained in the PAQ shall be

considered the same as interrogatory responses, and where documents are requested,

responses to requests for production under the Federal Rules of Civil Procedure.

III.   PAQ Deadlines

       1.     Cases filed on or before the date of the entry of this Order: For cases directly

filed in this judicial district and entered on the MDL 3004 docket on or before entry of



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this Order and for cases the JPML transfers to MDL 3004 on or before entry of this Order,

each Plaintiff must complete and serve upon Defendants a PAQ, the applicable executed

Authorizations, and Responsive Documents by November 23, 2021. A case shall be

deemed transferred to MDL 3004 either: (a) on the date the Clerk enters a certified copy

of the JPML’s Conditional Transfer Order on the docket of this Court, or (b) where

transfer is contested, the date of transfer in any subsequent order from the JPML.

       2.       Cases filed or transferred after the date of the entry of this Order: For cases

directly filed in this judicial district and entered on the MDL 3004 docket after entry of

this Order, each Plaintiff must complete and serve upon Defendants a PAQ, the

applicable executed Authorizations, and Responsive Documents within thirty (30) days

after the complaint has been entered on the docket. For cases the JPML transfers to MDL

3004 after entry of this Order, each Plaintiff must complete and serve upon Defendants a

PAQ, the applicable executed Authorizations, and Responsive Documents within thirty

(30) days after the case has been transferred to this Court.

IV.    Substantial Completeness of the PAQ

       PAQ submissions must be substantially complete, which means a Plaintiff must:

      a. Answer all questions in the PAQ to the best of his or her ability and/or

            recollection, taking into account the Plaintiff’s physical and mental condition at

            the time that the Plaintiff or the representative is completing the PAQ. (Plaintiff

            may answer questions in good faith by indicating “not applicable” or “I do not

            recall”);

      b. Include a signed Verification (found at section XXV of the PAQ);


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      c. Provide the applicable executed Authorizations; and

      d. Produce Responsive Documents (found at Section XXIII of the PAQ) to the

           extent such documents are in the Plaintiff’s possession, custody, or control.

V.    Objections Reserved to the PAQ

      All objections to the admissibility of information contained in the PAQ are

reserved; therefore, no objections shall be lodged in the responses to the questions and

requests contained therein. This paragraph, however, does not prohibit a Plaintiff from

withholding or redacting information based upon a recognized privilege. Information or

Responsive Documents withheld or redacted on the basis of a recognized privilege shall

be recorded in a privilege log that is provided to the Defendants within thirty (30) days

of the service of the completed PAQ and production of Responsive Documents.

VI.   Failure to Serve PAQ or Service of Materially Deficient PAQ

      1.       Notice by Defendant(s) of Overdue or Materially Deficient Discovery: Any

Plaintiff or Representative who fails to comply with their PAQ obligations under this

Order will be subject to having their claims dismissed. If a Plaintiff or Representative

does not serve upon Defendant(s) a substantially complete PAQ within the deadlines set

forth herein or if a Plaintiff or Representative serves upon Defendants a PAQ that a

Defendant considers to be materially deficient, then Defendant(s) may send Plaintiff’s

counsel a Notice of Overdue PAQ or a Notice of Materially Deficient Discovery.

      2.       Request for Review by Special Master Ellis: If a Plaintiff or Representative

fails to serve upon Defendant(s) a substantially complete PAQ or fails to correct the

alleged PAQ material deficiency(ies) within thirty (30) days after receipt of the Notice of



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Overdue PAQ or the Notice of Materially Deficient Discovery, any Defendant may

request review of the deficiency by Special Master Ellis. A Plaintiff or Representative

subject to such request shall have ten (10) days from the date of the Defendant’s request

to file a response in the form of (a) a substantially complete PAQ or deficiency responses

that purport to cure the material deficiency(ies) that are served upon the Defendants

through the Portal or (b) an opposition to the Defendant’s request demonstrating good

and justified cause for failure to comply with this Order. Requests for review and

responses shall be facilitated through the Portal.

       3.     If the Special Master finds that the Plaintiff or Representative served a

substantially complete PAQ or corrects the alleged PAQ material deficiency(ies) and

serves the Defendant through the Portal, the Plaintiff’s PAQ shall be deemed complete.

If the Special Master finds that the Plaintiff has failed to cure all deficiencies, the Special

Master shall provide a Report and Recommendation to the Court regarding the failure to

cure the deficiency within thirty (30) days. Thereafter, the Court may enter a Show Cause

Order and may order additional time for Plaintiff to cure any deficiencies or may dismiss

the Plaintiff’s Complaint Without Prejudice.

       4.     Plaintiffs’ Lead Counsel and the members of the Plaintiffs’ Executive

Committee have no obligation to notify counsel for Plaintiffs whom they do not represent

of Defendants’ notices of overdue or deficient discovery or to respond to any motion

practice pertaining thereto.

VII.   Confidentiality of Data

       Information any Plaintiff provides pursuant to a PAQ is deemed confidential, will


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only be used for purposes related to this litigation, and may be disclosed only as

permitted by the Protective Order.

VIII. Scope of Depositions and Admissibility of Evidence

       Nothing in the PAQ shall be deemed to limit the scope of inquiry at depositions

and admissibility of evidence at trial. The scope of inquiry at depositions shall remain

governed by the Federal Rules of Civil Procedure. The admissibility of information in

responses to the PAQ shall be governed by the Federal Rules and no objections are

waived by virtue of any Plaintiff’s PAQ response.

IX.    Rules Applicable to Authorizations and Document Production

       As set forth above, any agreed Authorizations together with copies of such

records, to the extent that those records or copies thereof are in a Plaintiff’s possession,

custody, or control, shall be provided with the PAQ at the time that the Plaintiff is

required to serve upon Defendants pursuant to this Order.

       In addition to the addressed Authorizations, Plaintiff’s counsel shall also maintain

in their file unaddressed, executed Authorizations. Undated Authorizations constitute

permission for Defendants to date (and where applicable, re-date) Authorizations before

sending to records custodians provided Defendants give notice and a courtesy copy of

such authorization used to Plaintiff’s counsel before each use. Should Plaintiffs provide

Authorizations that are undated, this shall not constitute a deficiency or be deemed a

substantially incomplete PAQ.

       If an agency, company, firm, institution, provider, or records custodian to whom

any Authorization is presented refuses to provide records in response to that



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Authorization, the Defendants shall notify Plaintiff’s counsel and provide that custodian

with a copy of this order. Upon notification, Plaintiff’s and Defendants’ counsel shall

work together in good faith with the Court to resolve the records issue as expeditiously

as possible.

X.     Discovery Affected by this Order.

       This Order applies to the procurement of information and materials from entities

(including, but not limited to, physicians, healthcare providers, pharmacies, former and

present employers, and all branches of the military) relating to the Plaintiff completing a

PAQ.

XI.    Duty to Accept Court-Approved Authorizations

       The HIPAA Compliant Medical Authorization and the Employment Records

Authorization attached to this Order have been approved for use in all claims affected

by this Order, and the “HIPAA Compliant Medical Authorization” is HIPAA compliant.

Accordingly:

         a. All physicians, healthcare providers, financial institutions, any federal, state,

               and/or local government agencies, and any other entity asked to produce

               medical or employment records relating to a claimant (collectively,

               “Entities”) must accept the Authorization Forms as valid for all claims

               affected by this Order;

         b. Entities may not request or insist on different forms or terms different from

               the Authorization Forms;




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         c. When signed either electronically or with wet ink signature by a Plaintiff or

            Plaintiff’s personal representative in claims affected by this Order, the

            Authorization Forms must be relied on by all Entities to authorize the release

            of all records, including all medical and employment records;

         d. No facility-specific or different form may be required by any person or entity

            for the production of any records relating to claims affected by this Order;

         e. A photocopy or .pdf image of the Authorization Forms must be accepted by

            all entities;

         f. No original signatures may be required on the Authorization Forms for the

            production of any records by any facility, pharmacy, or other entity; and

         g. Any Authorization Forms dated after the entry of this Order will be effective

            for the production of any records relating to a Plaintiff for the duration of

            this litigation.

      The Defendants or their designees shall have the right to contact agencies,

companies, firms, institutions, providers, or other records custodians to follow up on

record copying or production.

      Counsel for each Plaintiff will have the right to obtain copies of all documents

Defendants receive pursuant to Authorizations provided by that Plaintiff. The Parties

will meet and confer regarding the process and terms of Defendants providing copies of

documents obtained.




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XII.   Plaintiff Fact Sheet and Defendant Fact Sheet

       The parties shall continue to meet and confer with Special Master Ellis to revise

the PFS as needed and create a DFS in connection with bellwether or trial selection

discovery.

XIII. PAQ Reports and Portal Administration

       P&N shall provide ongoing administration and maintenance of the Portal and

database(s). P&N will work with the parties to develop customized reporting available

directly through the Portal as well as ad hoc reports and as requested by Special Master

Ellis, the parties, and the Court.

       P&N will provide initial training and ongoing support for Plaintiffs’ Counsel,

Defendants, and other portal users as approved by Special Master Ellis. Questions

regarding portal access, PAQ submission, or technical issues should be directed to P&N

at Info@ParaquatMDLPortal.com.

       IT IS SO ORDERED.

       DATED: October 27, 2021

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                                               NANCY J. ROSENSTENGEL
                                               Chief U.S. District Judge




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